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 8                               IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                            OAKLAND DIVISION

11

12    In re                                                    Case Nos 4:22-cv-02781-YGR
                                                                        4:22-cv-02783-YGR
13    ANTHONY SCOTT LEVANDOWSKI,                                        4:22-cv-02786-YGR
                                                                        4:22-cv-02789-YGR
14                                               Debtor.
                                                               On appeal from:
15                                                             Bankruptcy Case No. 20-30242 (HLB)
      THE UNITED STATES OF AMERICA on                          Chapter 11
16    behalf of THE INTERNAL REVENUE
      SERVICE                                                  (Jointly Administered)
17
           - and -                                             ORDER APPROVING STIPULATED
18                                                             BRIEFING SCHEDULE FOR APPEALS
19    CALIFORNIA FRANCHISE TAX                                 **AS MODIFIED BY THE COURT**
      BOARD,
20
                                             Appellants,
21
                      v.
22
      ANTHONY SCOTT LEVANDOWSKI,
23
                                               Appellee.
24
     * All papers shall be filed in the Lead Case,
25   No. 22-cv-02781-YGR.

26
27            The Court having reviewed the Stipulation re Briefing Schedule for Appeals, dated August

28    12, 2022, entered into by Appellants the United States and California Franchise Tax Board and
                                                           1
                      Order Approving Stipulated Briefing Schedule for Appeals (22-cv-02781-YGR; 22-cv-02783-YGR,
                                                                                22-cv-02786-YGR, 22-cv-02789-YGR)
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 1   Debtor and Appellee Anthony S. Levandowski (collectively, the “Parties”), Docket No. 37, and

 2   good cause appearing therefor, IT IS HEREBY ORDERED AS FOLLOWS:

 3           1.     The deadline for the United States to file and serve its opening briefs shall remain

 4   August 15, 2022;

 5           2.     The deadline for Mr. Levandowski to file and serve his responsive briefs to the

 6   United States’ opening briefs shall remain 69 days after service of the United States’ opening

 7   briefs;

 8           3.     The deadline for the United States to file and serve its reply briefs shall remain

 9   14 days after service of Mr. Levandowski’s responsive briefs to the United States’ appeals;

10           4.     The deadline for FTB to file and serve its opening briefs shall be September 14,

11   2022;

12           5.     The deadline for Mr. Levandowski to file and serve his responsive briefs to FTB’s

13   opening briefs shall be 99 days 69 days after service of FTB’s opening briefs without prejudice to

14   Mr. Levandowski providing a substantiated reason for needing 99 days;

15           6.     The deadline for FTB to file and serve its reply briefs shall remain 14 days after

16   service of Mr. Levandowski’s responsive briefs to FTB’s appeals.

17           IT IS SO ORDERED.

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19   Dated: August 15, 2022
            ________________________                          _________________________________
                                                              Honorable Yvonne Gonzalez Rogers
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                                                              UNITED STATES DISTRICT JUDGE
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                   Order Approving Stipulated Briefing Schedule for Appeals (22-cv-02781-YGR; 22-cv-02783-YGR,
                                                                             22-cv-02786-YGR, 22-cv-02789-YGR)
